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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

LUCRETIA NORWOOD as General
Guardian for J.R.J., a minor,
                                                  Case No. 24-cv-
      Plaintiff,                                  Hon.
v.

WALLED LAKE CONSOLIDATED
SCHOOLS,

      Defendant.

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                      COMPLAINT AND JURY DEMAND

      Plaintiff, LUCRETIA NORWOOD as General Guardian for J.R.J., a minor,

by and through her attorneys, Stempien Law, PLLC, hereby complains against

Defendant, Walled Lake Consolidated Schools, and in support thereof states:

1. Plaintiff, Lucretia Norwood, (“Plaintiff” or “Ms. Norwood”) and J.R.J.

     (“Plaintiff’s minor” or “J.R.J.”) are residents of the City of Wixom, Oakland

     County, Michigan.



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2. Defendant Walled Lake Consolidated Schools (“WLCS”) is a governmental

    entity duly authorized to operate as a public school district in Oakland County,

    Michigan.

3. WLCS has administrative offices located at 850 Ladd Road, Building D, Walled

    Lake, Michigan 48390.

4. Plaintiff brings this action for damages arising out of the acts and/or omissions

    of Defendant constituting unlawful discrimination due to J.R.J.’s race and

    sexual orientation, in violation of Title VII of the Civil Rights Act, 42 U.S.C. §

    2000e, et. seq. (Title VII) and Michigan’s Elliott-Larsen Civil Rights Act

    (ELCRA), MCL 37.2102, et seq.

5. The events giving rise to this action occurred within the Eastern District of

    Michigan.

6. Jurisdiction is vested with this Court pursuant to 28 USC §1331 and 28 USC

    §1367.

7. Venue is proper in this District pursuant to 28 USC §1391(b), (c) and (d).

                          COMMON ALLEGATIONS

8. Plaintiff incorporates by reference the preceding paragraphs of this Complaint

    as if the same were fully incorporated herein and further states:

9. In or about late-August of 2022, J.R.J. began attending Sarah G. Banks Middle

    School (the “School”), in WLCS, as a seventh-grade student.


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10. Sarah G. Banks Middle School’s staff’s, administrators’, faculty’s, and

    students’ race is overwhelmingly white.

11. J.R.J.’s race is African-American.

12. J.R.J.’s sexual orientation is gay.

13. Between August 2022 and January 3, 2024, white students bullied J.R.J. for

    being African-American and gay.

14. Between August 2022 and January 3, 2024, African-American students bullied

    J.R.J. for being gay.

15. Between August 2022 and January 3, 2024, J.R.J. was relentlessly bullied and

    was called derogatory, hate-motivated names by his classmates including, but

    not limited to n****r, fag, faggot, d*** sucker, blackie, monkey, gay boy, freak

    boy, and freak.

16. Between August 2022 and January 3, 2024, J.R.J. was bullied for his African

    American bodily features, including for the size of his features and style of hair.

17. Between August 2022 and January 3, 2024, J.R.J. was bullied for wearing make

    up to school and students pretended to be surprised that J.R.J. is male.

18. Between August 2022 and January 3, 2024, J.R.J. was barked at like a dog while

    at school.




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19. J.R.J. was bullied and harassed in class, in the hallways, at lunch, and at

    extracurricular activities such as football games, and on the school bus for his

    race and sexual orientation.

20. The most extreme bullying and harassment of J.R.J. came from D.C., L.K.,

    B.C., and J.

21. In or about the middle of the 2022-2023 school year, J.R.J. reported to the

    School’s counselor, Kerry McBride (“Counselor McBride”), in Counselor

    McBride’s office that J called him “a faggot,” that B.C. called him “the n-

    word,” and that J, B.C., M.B., and A, were “picking on [him]” and said “you’re

    a faggot” to J.R.J.

22. Counselor McBride told J.R.J. that she would ‘talk to them.’

23. Counselor McBride never followed up with J.R.J. and the harassment and

    bullying continued.

24. Approximately one month after J.R.J. first reported the bullying and harassment

    to Counselor McBride, he reported to Counselor McBride for a second time that

    the harassment and bullying was still occurring.

25. The bullying and harassment continued after J.R.J. reported it for a second time.

26. J.R.J. lost hope that Counselor McBride would help him, so he stopped

    reporting the bullying and harassment.




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27. WLCS teachers, staff, and lunch monitors knew J.R.J. was being harassed and

    bullied.

28. WLCS teachers, staff, and lunch monitors knew which students were harassing

    and bullying J.R.J.

29. J.R.J.’s bullies and harassers did not face any disciplinary action for their

    treatment of J.R.J.

30. WLCS permitted its students to habitually harass and discriminate against J.R.J.

    the entire time he was enrolled as a student at the School.

31. WLCS staff and/or administrators discriminated against and harassed J.R.J. for

    his sexual orientation.

32. The School’s Counseling Secretary, Sinah Kostik, (“Secretary Kostik”) called

    Plaintiff to complain that J.R.J. was wearing feminine clothing at School.

33. Upon information and belief, Secretary Kostik does not call female students’

    parents to complain about their daughters wearing feminine clothing at School.

34. Secretary Kostik called Plaintiff to complain that J.R.J. was wearing makeup

    at School.

35. Upon information and belief, Secretary Kostik does not call female students’

    parents to complain about their daughters wearing makeup at School.

36. J.R.J. would go home early from school because of the bullying.




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37. J.R.J. would tell his friends, Plaintiff, and the School that he wanted to go home

    from school early because he was feeling ill.

38. J.R.J. was absent from School a total of (17) days between the start of the 2023-

    2024 school year in early-September 2023 and January 3, 2024.

39. In or about December 2023, Plaintiff called the School to notify it that J.R.J.

    would not be attending school that day due to illness, which was confirmed by

    his physician to be contagious.

40. Secretary Kostik told Plaintiff that she must obtain a doctor’s note, or J.R.J.

    would be charged with truancy.

41. The School’s attendance policy in effect at that time provided that students with

    (20) or more unexcused absences would be referred to the Oakland County

    Truancy Office.

42. Secretary Kostik’s truancy threat was made in violation of school policy.

43. Upon information and belief, Secretary Kostik does not threaten white students’

    parents with truancy charges when their parents call in to excuse them from

    school.

44. Upon information and belief, Secretary Kostik does not threaten heterosexual

    students’ parents with truancy charges when their parents call in to excuse them

    from school.




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45. Upon information and belief, Secretary Kostik does not threaten white and

    heterosexual students’ parents with truancy charges when the student does not

    have (20) or more unexcused absences.

46. In or about December 2023, WLCS initiated truancy proceedings against J.R.J.

47. Upon information and belief, WLCS does not initiate truancy proceedings

    against white students or heterosexual students who do not have (20) or more

    unexcused absences.

48. In or about December 2023, a truancy hearing was set by WLCS to occur on

    January 19, 2024.

49. During the 2023-2024 school year, J.R.J., D.C., L.K., and B.C. had third-hour

    science class together.

50. In the fall of 2023, J.R.J. told the third-hour science teacher that he was having

    issues with L.K. calling him names.

51. In response to J.R.J. reporting L.K.’s bullying to the science teacher, the science

    teacher sat J.R.J. and L.K. next to each other.

52. The science teacher punished J.R.J. for reporting the bullying to her.

53. The science teacher intentionally put J.R.J. in a situation where she knew or had

    reason to know that J.R.J. would be further bullied and harassed.

54. Upon information and belief, the science teacher would have taken corrective

    action against L.K., if J.R.J. was white and heterosexual.


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55. Upon information and belief, the science teacher would have referred J.R.J.’s

    complaints to Principal Michelle Kalhorn (“Principal Kalhorn”)., Vice

    Principal Smith, and/or Counselor McBride, if J.R.J. was white and

    heterosexual.

56. On January 3, 2024, L.K. called J.R.J. a “n****r.”

57. On January 3, 2024, in third-hour science class, D.C., L.K., and B.C. were

    talking amongst each other about J.R.J. while J.R.J. was sitting at his desk

    talking with a friend, C.B., about his new haircut.

58. D.C., with L.K. and B.C. in toe, approached J.R.J. and told J.R.J. that he should

    not have cut his hair because he has a large forehead.

59. D.C. then asked J.R.J., ‘if you were going to bring a gun to school, would you

    tell me?’

60. J.R.J. responded, “no. Why would I bring a gun to school!?”

61. D.C. then asked J.R.J., “who would you shoot if you brought a gun to school?”

62. D.C. then stated, “I would shoot you because you’re black.”

63. B.C. approached, joined in on the bullying, and stated, “if that was me, I’d go

    tell the teacher,” in an apparent nudge of encouragement to D.C. to berate J.R.J.

    until he specifically named someone to shoot.




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64. J.R.J. then said to D.C., “I’d probably shoot you because why [are] you over

    here?” hoping that an answer would satisfy the bullies and cause them to

    disburse back to their seats.

65. The bullies then rushed over to their teacher to ‘tell on’ J.R.J.

66. At the end of class, L.K. approached J.R.J. and exclaimed, ‘she [the science

    teacher] knows that you threatened to shoot up the school.’

67. During fourth hour, J.R.J. was hailed into the School’s office where he was

    interrogated by Counselor McBride and Vice Principal, Kelly Smith (“Vice

    Principal Smith”).

68. The School searched J.R.J.’s locker and purse but, of course, did not find any

    guns or weapons.

69. For the next few hours, J.R.J. sat alone in a room, segregated.

70. J.R.J. was then hailed back into the office with Vice Principal Smith and

    Principal Kalhorn.

71. J.R.J. told Vice Principal Smith, Principal Kalhorn, and Counselor McBride

    that the students who said J.R.J. was going to ‘shoot up the school’ have been

    harassing him and that D.C. threatened to shoot J.R.J.

72. Vice Principal Smith and Counselor McBride told J.R.J. ‘that’s a big reach’ and

    ‘you can’t go around saying you’re going to shoot people.’




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73. Vice Principal Smith and Counselor McBride did not, however, pay any mind

    to J.R.J. reporting to them that D.C. said he was going to shoot J.R.J., nor did

    Counselor McBride speak up despite having knowledge of J.R.J. reporting this

    harassment, bullying, and discrimination to her twice previously.

74. WLCS sided with J.R.J.’s bullies because they are white, heterosexual, and all

    had the same story, of course.

75. J.R.J. sat in the school’s attendance office for the remainder of the school day,

    was released, and took the bus home from school.

76. Upon information and belief, WLCS would not have allowed J.R.J. to take the

    bus home from school if it had any reason to believe that J.R.J. posed any threat

    to WLCS staff or students.

77. Principal Kalhorn called Plaintiff and told her that the three minor students said

    that J.R.J. said that if he was going to bring a gun to school, he would shoot

    those three students, then shoot up the school.

78. Principal Kalhorn told Plaintiff that J.R.J. was being suspended for (5) days.

79. D.C. was not disciplined for stating that he was going to shoot J.R.J. “because

    he is black.”

80. L.K. was not disciplined for calling J.R.J. a “n****r.”




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81. D.C.’s, L.K.’s, and B.C.’s parents wanted the police to be involved, based on

    their children’s false representations that J.R.J. said he was going to shoot up

    the school and shoot their children first.

82. Principal Kalhorn advised Plaintiff that J.R.J. could return to school on January

    10, 2024.

83. Principal Kalhorn, however, advised the Wixom Police Department’s Detective

    Sgt. Caldwell that J.R.J. was suspended pending an expulsion hearing with the

    WLCS District Superintendent.

84. L.K. changed his version of the January 3, 2024 events twice during his initial

    interview with Detective Sgt. Caldwell.

85. During B.C.’s initial interview with Detective Sgt. Caldwell, B.C. stated a

    series of quotes from the incident that do not correspond with what any of the

    other minor children alleged.

86. B.C. admitted to Detective Sgt. Caldwell that WLCS has never spoken to B.C.

    about bullying J.R.J.; and that he heard his friend call J.R.J. a “faggot” on the

    bus.

87. During D.C.’s initial interview with Detective Sgt. Caldwell, D.C. backed off

    his prior version of the January 3, 2024 events and ultimately claimed that he

    does not remember what J.R.J. said.




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88. C.B., the classmate that J.R.J. was sitting in class with on January 3, 2024 at the

    time he was approached by the three bullies, told Detective Sgt. Caldwell that

    she was at the table when J.R.J. was approached; she heard D.C. ask J.R.J., “if

    you were going to shoot up the school, who would it be?”; that J.R.J. responded

    by saying, “Why would you say that? That is wrong. Why would you say that?”;

    and that B.C. then walked over and said “ooh, you guys are talking about

    shootings. I’m telling the teacher.”

89. Detective Sgt. Caldwell asked C.B. who started the conversation regarding a

    shooting at the school and C.B. replied “[D.C.]. It was [D.C.]… “he asked

    [J.R.J.], ‘if you were to shoot up the school who would it be?; and [J.R.J.]

    responded, ‘Why would you say that? That’s weird.’

90. C.B. further told Detective Sgt. Caldwell that L.K. spoke to C.B. after the

    incident and L.K. told C.B. that it was just a misunderstanding and they

    misheard him; that L.K. would not tell her exactly what he said that was

    misunderstood; and that L.K. was worried about something he said at the school

    hearing about the incident.

91. C.B. told Detective Sgt. Caldwell that she was surprised J.R.J. was suspended

    and D.C. was still in school “because [D.C.] was the one who asked the question

    and [J.R.J.] said that was a stupid question. He didn’t answer it like a lot of

    people would have.”


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92. On    January    4,   2024,     WLCS        superintendent,   Dr.   Michael   Lonze

    (“Superintendent Lonze”), informed Plaintiff that an expulsion hearing was

    scheduled by WLCS to occur on January 8, 2024.

93. On or about January 5, 2024, D.C. told A.H. in math class, that “[L.K.] took it

    really far” when referencing L.K. telling their teacher that J.R.J. said he was

    going to shoot up the school.

94. On January 8, 2024, A.H. was approached by D.C. at school and D.C. told A.H.

    what happened on January 3, 2024. D.C.’s series of events was the series of

    event J.R.J. had told her previously and D.C. told A.H. that “[B.C.] blew it way

    out of proportion.”

95. WLCS failed to interview A.H.

96. WLCS knew or had reason to know that A.H. would corroborate J.R.J.’s

    statements.

97. Upon information and belief, WLCS would have interviewed witnesses for

    J.R.J. if J.R.J. was not African American.

98. Upon information and belief, WLCS would have interviewed witnesses for

    J.R.J. if J.R.J. was not gay.

99. Upon information and belief, WLCS would have interviewed witnesses for

    J.R.J. if J.R.J’s bullies were not white and heterosexual.




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100. On January 8, 2024, WLCS cancelled the expulsion hearing when Plaintiff

    and J.R.J. presented for the hearing with retained counsel and refused to speak

    with WLCS without their counsel, despite WLCS requesting Plaintiff and J.R.J.

    do so.

101. WLCS re-scheduled the expulsion hearing to occur on January 18, 2024 and

    barred J.R.J. from returning to classes until after the hearing occurred, despite

    the fact that J.R.J. was only to be suspended until January 10, 2024.

102. WLCS re-scheduled the expulsion hearing notwithstanding the fact that

    WLCS initiated truancy proceedings against J.R.J. whilst simultaneously

    banning J.R.J. from attending school.

103. On or about January 10, 2024, Sgt. Caldwell advised Plaintiff that J.R.J. is not

    a person of interest, he does not believe that J.R.J. is ‘the culprit,’ he does not

    believe that J.R.J. started the conversation about shooting students at school, he

    needed to refute the other students’ statements to prove that J.R.J. was wrongly

    accused, and that J.R.J.’s bullies claimed that they were friends with J.R.J. and

    denied ever bullying him.

104. On January 18, 2024, an expulsion hearing was held.

105. During the expulsion hearing, J.R.J. re-reported – in great detail – the bullying

    and harassment he had been the victim of the entire time he was a student at the

    school.


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106. During the expulsion hearing, WLCS offered to place J.R.J. into online

    classes, but did not indicate that it would take any corrective action to stop the

    bullying, harassment, and discrimination.

107. During the expulsion hearing, J.R.J. made it clear that he wants to return to

    in-person schooling, but wanted to transfer to Geisler Middle School because

    of the bullying, discrimination, and harassment at Sarah G. Banks Middle

    School.

108. During the expulsion hearing, it became clear to Plaintiff that WLCS sought

    to sweep its discrimination of J.R.J. under the rug.

109. During the expulsion hearing, WLCS cancelled the truancy hearing set for

    January 19, 2024.

110. At the end of the expulsion hearing, WLCS opined that the days J.R.J. was

    suspended “won’t count” and WLCS requested (24) hours to determine if it was

    going to expel J.R.J.

111. On January 19, 2024, WLCS decided that “There will be no further discipline

    for [J.R.J.]. He is able to return to Banks Middle School on Monday [January

    22, 2024].”

112. J.R.J. transferred to Geisler Middle School because he did not want to be

    bullied, harassed, or discriminated against anymore.




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113. It is common knowledge among African American WLCS students that ‘the

    black kids switch to Geisler’ because of racially-motivated bullying at Sarah G.

    Banks Middle School.

114. Upon information and belief, minors P, E, L, and S also transferred to Geisler

    Middle School from Sarah G. Banks Middle School as a direct result of them

    also being victims of racially motivated bullying and harassment.

115. Minors P, E, L, and S are African American.

116. J.R.J.’s first day of school at Geisler Middle School was February 1, 2024.

117. As a direct and proximate result of WLCS’ utterly failing J.R.J., and WLCS’

    pretext actions and inaction to expel J.R.J., he was forced to miss an entire

    month of school during the time in his young life where his education is of the

    upmost importance.

118. J.R.J.’s academic performance significantly declined as he continued to be

    bullied at Sarah G. Banks Middle School.

119. By the time J.R.J. transferred to Geisler, he had become severely emotionally

    withdrawn.

120. J.R.J. suffered severe mental anguish and extreme emotional distress as a

    result of WLCS’ actions and inaction and, as a result, J.R.J. is now attends

    therapy.




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121. On a date after January 19, 2024, Vice Principal Smith called A.H. into her

    office, asked A.H. if she ever heard others making fun of J.R.J., and told A.H.

    that J.R.J. switched schools.

122. A.H. told Vice Principal Smith what J.R.J. had already reported to Vice

    Principal Smith directly and repeatedly reported to the School since the prior

    school year.

123. Upon Vice Principal Smith obtaining corroboration of J.R.J.’s complaints and

    statements, WLCS still took no disciplinary action against J.R.J.’s bullies.

124. Presently, there is a rumor at Sarah G. Banks Middle School that J.R.J. ‘went

    to jail for crack.’

125. J.R.J. is still being bullied, harassed, and discriminated against by the School’s

    students, even though he does not attend Sarah G. Banks Middle School

    anymore.

  COUNT I – VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT
                   (RACE DISCRIMINATION)

126. Plaintiff hereby incorporates by reference all previous paragraphs of this

    Complaint as if fully set forth herein.

127. Title VII of the Civil Rights Act, 42 U.S.C. § 2000d, provides that, “[n]o

    person in the United States shall, on the ground of race… be excluded from




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    participation in, be denied the benefits of, or be subjected to discrimination

    under any program or activity receiving Federal financial assistance.”

128. WLCS operates programs and activities and receives federal financial

    assistance.

129. J.R.J.’s race, African-American, was a significant motiving factor in

    Defendant excluding J.R.J. from participation in, denying him the benefits of,

    and subjecting him to discrimination, as fully explained herein.

130. As a direct and proximate result of Defendant’s violation of Title VII,

    Plaintiff’s minor has suffered damages, including but not limited to: lost past

    and future academic opportunities and benefits, loss of potential earning

    capacity, attorney fees, and severe mental anguish and emotional distress.

                         COUNT II
     VIOLATION OF THE ELLIOTT-LARSEN CIVIL RIGHTS ACT
                  (RACE DISCRIMINATION)

131. Plaintiff hereby incorporates by reference all previous paragraphs of this

    Complaint as if fully set forth herein and further states that:

132. The ELCRA, § 402(a) provides that “[a]n educational institution shall not …

    [d]iscriminate against an individual in the full utilization of or benefit from the

    institution, or the services, activities, or programs provided by the institution

    because of… race…”



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133. J.R.J.’s race, African-American, was a significant motiving factor in

    Defendant discriminating against J.R.J. in the full utilization of, and benefit

    from, WLCS’ institution and the services, activities, and programs provided by

    WLCS, as fully explained herein.

134. As a direct and proximate result of Defendant’s violation of ELCRA,

    Plaintiff’s minor has suffered damages, including but not limited to: lost past

    and future academic opportunities and benefits, loss of potential earning

    capacity, attorney fees and severe mental anguish and emotional distress.

                         COUNT III
     VIOLATION OF THE ELLIOTT-LARSEN CIVIL RIGHTS ACT
           (SEXUAL ORIENTATION DISCRIMINATION)

135. Plaintiff hereby incorporates by reference all previous paragraphs of this

    Complaint as if fully set forth herein and further states that:

136. The ELCRA, § 402(a) provides that “[a]n educational institution shall not …

    [d]iscriminate against an individual in the full utilization of or benefit from the

    institution, or the services, activities, or programs provided by the institution

    because of… sexual orientation…”

137. WLCS is an educational institution.

138. Sarah G. Banks Middle School is an educational institution.

139. J.R.J.’s sexual orientation, gay, was a significant motiving factor in Defendant

    discriminating against J.R.J. in the full utilization of or benefit from WLCS and
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     Sarah G. Banks Middle School, and the services, activities, or programs

     provided by WLCS and Sarah G. Banks Middle School, as fully explained

     herein.

140. As a direct and proximate result of Defendant’s violation of ELCRA,

     Plaintiff’s minor has suffered damages, including but not limited to lost past

     and future academic opportunities and benefits, loss of potential earning

     capacity, attorney fees, and severe mental anguish and emotional distress.

   WHEREFORE, Plaintiff prays that this Honorable Court enter a judgment in

Plaintiff’s favor against Defendant in an amount that this Court deems fair and just,

plus costs, interest and attorney fees.

                                  JURY DEMAND

      Plaintiff hereby demands a trial by jury of the within cause.

                                               Respectfully submitted,

                                               STEMPIEN LAW, PLLC

                                               /s/ Mallorie M. Blaylock
                                               Mallorie M. Blaylock (P84331)
                                               Attorney for Plaintiff
                                               38701 Seven Mile Road, Suite 445
                                               Livonia, MI 48152
Dated: May 22, 2024




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